       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 1 of 9



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

e-WATCH, INC.                                    §
     Plaintiff                                   §         Civil Case No. 4:13-cv-347
                                                 §
      v.                                         §
                                                 §         Jury demanded
AVIGILON CORPORATION                             §
      Defendant                                  §
                                                 §


                                          COMPLAINT



           e-WATCH, INC. files this action complaining of AVIGILON CORPORATION and

 for cause of action respectfully shows as follows:



                                              PARTIES

           1.    Plaintiff e-WATCH, INC. is a Nevada Corporation with its principal office in San

 Antonio, Texas.

           2.    Defendant AVGILON CORPORATION is a Canadian corporation formed under the

 Canada Business Corporations Act. Its principal office is located at 858 Beatty St., 4th Floor,

 Vancouver, British Columbia, V6B 1C1 and its registered office is located at 2900-550 Burrand

 St., Vancouver, British Columbia, V6C 0A3.



                                       SERVICE OF PROCESS

           3.    The United States of America and Canada are both signatories to the Convention

 on the Service Abroad of Judicial and Extrajudicial Documents In Civil or Commercial Matters,

 generally known as the Hague Convention. Therefore Avigilon Corporation may be served with

                                                                                              Page 1
      Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 2 of 9




process in accordance with the terms of the Hague Convention treaty. Pursuant to the

Convention, the defendant may be served through British Columbia’s designated Central

Authority, the Ministry of the Attorney General for British Columbia, Office of Order-in-Council

Administration, Room 029, Parliament Buildings, Victoria, British Columbia, Canada V8V 1X4.

 Also pursuant to the terms of the Convention, the defendant may be served personally pursuant

to Rule 4-3 of the Supreme Court Civil Rules of British Columbia by leaving a copy of the

document with a chief officer of the corporation, an agent or other person in control of

management of the corporation, or in any other manner provided by the Business Corporations

Act or any enactment relating to the service of court documents.



                                    JURISDICTION AND VENUE

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a), because plaintiff’s claims arise under federal laws relating to patents and unfair

competition.

       5.      This Court has personal jurisdiction over the defendant because it transacts

business by selling its products within the United States. For the calendar year ending December

31, 2011 the defendant had U.S. sales of approximately 31 million U.S. dollars. The United

States is Avigilon’s largest single source of revenue by country, accounting for approximately

50% of its total sales. In addition, on information and belief, Avigilon has previously sought the

protection of United States law and the United States Court system by voluntarily asserting

claims for relief in United States District Courts. Furthermore, Avigilon sells to consumers

within the geographic boundaries of the Southern District of Texas, and the Court has personal

jurisdiction because the defendant has committed acts of patent infringement within the



                                                                                               Page 2
       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 3 of 9




geographic boundaries of the United States and the Southern District of Texas.

        6.      Venue is proper in the Southern District of Texas pursuant to 28 U.S.C. § 1391(d)

because the defendant is an alien. The defendant also employs sales personnel in the Southern

District of Texas and thus venue is also proper under 28 U.S.C. § 1391(b) because substantial

acts of infringement giving rise to plaintiff’s claim occurred and continue to occur within the

boundaries of the Southern District of Texas.



                                                   FACTS

        7.      e-Watch develops and markets hardware, software and services designed to

centrally manage a multiplicity of safety, security and access control devices using IP protocol

over a computer network, including modern professional security surveillance systems and

associated cameras. For example, a corporate office campus may include access control by way

of still frame pictures of individuals seeking access or full motion cameras monitoring rooms,

hallways, or doors.

        8.      e-Watch also develops and markets digital camera systems, which, among other

things, have the capability of creating high resolution still and streaming video signals from a

multiplicity of image transducers, compressing the digital image signal, and sending a

multiplicity of image signals over a digital network. The advantage of e-Watch’s technology is,

among other things, that it allows live monitoring and digital recording of high resolution, full

frame rate, color images, either on site, offsite, or in distributed locations.

        9.      e-Watch is the owner of the following United States Patents:

         Patent No.                        Title                                          Issue Date

         6,970,183 (the ’183 patent)       Multimedia Surveillance and Monitoring         Nov 29,
                                           System Including Network Configuration         2005


                                                                                              Page 3
      Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 4 of 9




          7,228,429 (the ’429 patent)      Multimedia Network Appliances for                Jun 5,
                                           Security and Surveillance Applications           2007

          7,023,913 (the ‘913 patent)      Digital Security Multimedia Sensor               April 4,
                                                                                            2006


The digital camera and surveillance systems marketed by e-Watch incorporate claims included

these patents.

         10.     Avigilon Corporation designs, manufactures and distributes surveillance systems

comprising hardware, such as high-definition cameras, and associated software. In so doing it

uses and sells, or attempts to make, use or sell, or otherwise provide throughout the United States

and within the geographical area covered by the United States District Court for the Southern

District of Texas, products which utilize the systems, methods and apparatus in at least one claim

in each of the ’183, ’429, and ’913 Patents. The infringing products include, but are not limited

to the Avigilon Control Center Software and Avigilon H3 series products, for example, model

numbers 1.0-H3-B2 and 1.0-H3-B3.



                    CLAIM FOR INFRINGEMENT OF THE ’183 PATENT

         11.     Plaintiff incorporates the foregoing paragraphs by reference as if fully set forth

below.

         12.     The ‘183 patent describes a surveillance and security system in which comprises a

surveillance sensor (such as motion detector) the signal from which is converted into a network

compatible signal, and another surveillance sensor connected to a server (such as a camera)

wherein a server receives and logs data from the sensors.

         13.     The ’183 Patent is valid and enforceable.



                                                                                                Page 4
       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 5 of 9




         14.   The defendant has and continues to infringe, contributorily infringe or actively

induce the infringement of the ’183 Patent by using, selling and offering for use or sale products

and services within this judicial district which incorporate e-Watch’s patented technology. The

defendant is offering for sale or use, or selling or using these products without license or

authority from e-Watch.

         15.   The claims of the patent are either literally infringed or infringed under the

doctrine of equivalents. These infringing acts of the defendant are committed in violation of 35

U.S.C. § 271 et seq.

         16.   Upon information and belief, plaintiff alleges that the acts of infringement by the

defendant are willful, making this an exceptional case under 35 U.S.C. § 285.

         17.   Upon information and belief, plaintiff further alleges that the actions of the

defendant have resulted in substantial lost profits to the plaintiff, and substantial unjust profits

and enrichment to the defendant, all in amounts yet to be determined. Defendant’s acts of

infringement have caused irreparable harm to the plaintiff and will continue to do so unless

enjoined by the Court.



                   CLAIM FOR INFRINGEMENT OF THE ’429 PATENT

         18.   Plaintiff incorporates the foregoing paragraphs by reference as if fully set forth

below.

         19.   The ‘429 patent describes an apparatus in which motion and still image signals

from video camera, and an audio signal from a microphone are prepared to be transmitted over a

network. The apparatus digitizes the signals, compresses the signals so that they take up less

bandwidth, and combines the signals into a single signal for transmission in a manner that they



                                                                                                 Page 5
       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 6 of 9




can be disintegrated at their destination for use with a security monitoring system.

         20.    The ’429, Patent is valid and enforceable.

         21.    The defendant has and continues to infringe, contributorily infringe or actively

induce the infringement of the ’429 Patent by using, selling and offering for use or sale products

and services within this judicial district which incorporate e-Watch’s patented technology. The

defendant is offering for sale or use, or selling or using these products without license or

authority from e-Watch.

         22.    The claims of the patent are either literally infringed or infringed under the

doctrine of equivalents. These infringing acts of the defendant are committed in violation of 35

U.S.C. § 271.

         23.    Upon information and belief, plaintiff alleges that the acts of infringement by the

defendant is willful, making this an exceptional case under 35 U.S.C. § 285.

         24.    Upon information and belief, plaintiff further alleges that the actions of the

defendant have resulted in substantial lost profits to the plaintiff, and substantial unjust profits

and enrichment to the defendant, all in amounts yet to be determined. defendant’s act of

infringement has caused irreparable harm to the plaintiff and will continue to do so unless

enjoined by the Court.



                   CLAIM FOR INFRINGEMENT OF THE ’913 PATENT

         25.    Plaintiff incorporates the foregoing paragraphs by reference as if fully set forth

below.

         26.    The ‘913 Patent describes technology for a digital security multimedia sensor

utilizing a digital camera system with the capability of providing high resolution still image and



                                                                                                 Page 6
       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 7 of 9




streaming video signals via a network to a security and surveillance system.

       27.      The ’913, Patent is valid and enforceable.

       28.      The defendant has and continues to infringe, contributorily infringe or actively

induce the infringement of the ’396 Patent by using, selling and offering for use or sale products

and services within this judicial district which incorporate e-Watch’s patented technology. The

defendant is offering for sale or use, or selling or using these products without license or

authority from e-Watch.

       29.      The claims of the patent are either literally infringed or infringed under the

doctrine of equivalents. These infringing acts of the defendant are committed in violation of 35

U.S.C. § 271.

       30.      Upon information and belief, plaintiff alleges that the acts of infringement by the

defendant is willful, making this an exceptional case under 35 U.S.C. § 285.

       31.      Upon information and belief, plaintiff further alleges that the actions of the

defendant have resulted in substantial lost profits to the plaintiff, and substantial unjust profits

and enrichment to the defendant, all in amounts yet to be determined. defendant’s act of

infringement has caused irreparable harm to the plaintiff and will continue to do so unless

enjoined by the Court.



                                                 DAMAGES

       32.      As a result of defendant’s infringement, Plaintiff has suffered actual and

consequential damages, however, plaintiff does not yet know the full extent of such damages and

such extent cannot be ascertained except through discovery and special accounting. To the

fullest extent permitted by law, plaintiff seeks recovery of damages for lost profits, reasonable



                                                                                                 Page 7
       Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 8 of 9




royalties, unjust enrichment, and benefits received by the defendant as a result of using the

misappropriated technology. Plaintiff seeks any other damages to which it may be entitled in

law or in equity.

       33.     Defendant’s infringement was committed intentionally, knowingly, and with

callous disregard of plaintiff’s legitimate rights. Plaintiff is therefore entitled to and now seeks

to recover exemplary damages in an amount not less than the maximum amount permitted by

law.

                                       ATTORNEYS FEES

       34.     Plaintiff is entitled to recover reasonable and necessary attorneys fees under

applicable law.



                                  CONDITIONS PRECEDENT

       35.     All conditions precedent to plaintiff’s right to recover as requested herein have

occurred or been satisfied.



                                         JURY DEMAND

       36.     Plaintiff demands a trial by jury pursuant to Fed. R. Civ. P. 38.



                                             PRAYER

               WHEREFORE, PREMISES CONSIDERED, plaintiff e-Watch, Inc. asks that

defendant Avigilon Corporation be cited to appear and answer and, on final trial, that plaintiff

have judgment against defendant for the following:

               a.      Actual economic damages;



                                                                                                Page 8
Case 4:13-cv-00347 Document 1 Filed on 02/11/13 in TXSD Page 9 of 9




      b.    Exemplary treble damages as allowed by law;

      c.    Permanent injunction;

      d.    Attorney fees;

      e.    Pre-judgment and post-judgment interest as allowed by law;

      f.    Costs of suit; and

      g.    All other relief in law or in equity to which plaintiff may show itself justly
            entitled.




                             Respectfully submitted,



                             __________________________________
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                                                                                    Page 9
